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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE n
WESTERN DIVISION '“ l ' '

MEMPHIS PUBLISHING CO.,

 

Plaintiff,
v. No. 04-2620-B/P

NEWSPAPER GUILD OF MEMPHIS,
LOCAL 33091,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Plaintiff’s Motion to Amend Complaint, or, in the Alternative, Stay
Arbitration Pending Lawsuit filed on May 19, 2005.

This motion is referred to the United States Magistrate Judge for determination and/or
report and recommendation Any objections to the magistrate judge’s order and/or report and
recommendation shall be made within ten (10) days after service of the order and/or report,
setting forth particularly those portions of the order and/or report objected to and the reasons
for the objections Failure to timely assign as error a defect in the magistrate judge’s order
and/or report will constitute a waiver of that objection. w Rule 72(a), Federal Rules of Civil
Procedure.

IT IS SO ORDERED this Z day of May, 2005.

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J. DANIEL BREEN
IT STATES DISTRICT JUDGE
Thls document entered on the docket/sheet in compliance
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F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CV-02620 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

